              IN THE UNITED STATES DISTRICT COURT FOR THE
               MIDDLE DISTRICT OF TENNESSEE AT COLUMBIA

CONOR MARKINS, individually and
as next of kin of BRADLEY SCOTT
MARKINS, deceased,

      PLAINTIFF,

v.                                                 No. ____________________
                                                   JURY DEMAND
UNITED VAN LINES, LLC,
ARMSTONG RELOCATION CO., INC. –
RALEIGH, NORTH CAROLINA and
JAMES RICHARDSON,

      DEFENDANTS.
______________________________________________/

                                  COMPLAINT

      The PLAINTIFF, CONOR MARKINS, individually and as next kin of

BRADLEY SCOTT MARKINS, through his attorneys of record, sues the Defendants,

UNITED VAN LINES, LLC, ARMSTRONG RELOCATION CO., INC. – RALEIGH,

NORTH CAROLINA and JAMES RICHARDSON, and for his claims for relief states

as follows:

                                    PARTIES

1.    PLAINTIFF’s     decedent,   BRADLEY      SCOTT     MARKINS      (or   “BRAD

MARKINS”), at the time of his death was a resident of Ironton, Ohio. BRAD

MARKINS is survived by CONOR MARKINS, son, (or “PLAINTIFF”), who is his

next of kin and has standing pursuant to Tennessee law to bring claims for survivor

and wrongful death claims and does so both individually and on behalf of the




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beneficiaries to such claims. BRAD MARKINS was not married at the time of his

death and is survived by his son CONOR MARKINS and daughter, ALI HANKINS.

2.       DEFENDANT UNITED VAN LINES, LLC (“UNITED VAN LINES”) on

information and belief is a foreign, for-profit corporation organized and existing under

the laws of Missouri with a principal office located at 1 United Drive, Fenton,

Missouri 63026. UNITED VAN LINES is a registered motor carrier with the

Department of Transportation, Federal Motor Carrier Safety Administration, No.

77949. As stated in recent MCS-150 filings1, UNITED VAN LINES has 4,247 trucks

and 4,235 drivers operating on interstate highways. UNITED VAN LINES may be

served process by serving its BOC-3 registered agent for service of process, American

Moving and Storage Association, c/o Roland M Lowell, 7135 Centennial Place,

Nashville, TN 37209-1033.

3.       DEFENDANT ARMSTRONG RELOCATION CO., INC. – RALEIGH, NORTH

CAROLINA (“ARMSTRONG RELOCATION”), on information and belief is a

foreign, for-profit corporation organized and existing under the laws of North

Carolina with a principal office located at 4227 Surles Ct., Suite 110, Durham, North

Carolina 27703. ARMSTRONG RELOCATION is a registered motor carrier with the

Department of Transportation, Federal Motor Carrier Safety Administration, No.

1071807. According to recent MCS-150 filings, ARMSTRONG RELOCATION has 29

trucks and 29 drivers operating on interstate highways.                      ARMSTRONG

RELOCATION may be served process by serving its BOC-3 registered agent for


1
 MCS-150 refers to the form number of a mandatory filing with the Federal Motor Carrier
Safety Administration for registered motor carriers.
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service of process, American Moving and Storage Association, c/o Roland M Lowell,

7135 Centennial Place, Nashville, TN 37209-1033.

4.    DEFENDANT, JAMES RICHARDSON (“DEFENDANT RICHARDSON”)

(“DEFENDANTS” collectively), on information and belief, is a citizen and resident

of Raleigh, North Carolina and can be served process at 2913 Snowberry Drive,

Raleigh, North Carolina 27610.

5.    PLAINTIFF is informed and believes and alleges that at all times herein,

DEFENDANT RICHARDSON was an agent, servant, employee, statutory employee

of DEFENDANTS UNITED VAN LINES and ARMSTRONG RELOCATION, jointly,

and was at all times relevant, acting within the purpose and scope of said agency and

employment and with the knowledge, consent and ratification of DEFENDANTS

UNITED VAN LINES and ARMSTRONG RELOCATION, as joint-employers.


                          JURISDICTION AND VENUE

6.    This Court has jurisdiction pursuant to 28 USC 1332 (a)(1)-(2) (“diversity

jurisdiction”). Many of the acts complained of occurred in this District. The amount

in controversy is in excess of $75,000 exclusive of costs and interest.


                                        FACTS

7.    On or before June 19, 2020 DEFENDANTS UNITED VAN LINES and

ARMSTRONG RELOCATION had promulgated practices, policies and procedures

regarding safety of the motoring public as motor carriers. These policies, practices,

and procedures were formed and implemented from the corporate headquarters of

these respective DEFENDANTS in Missouri and/or North Carolina. The decisions

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made by these DEFENDANTS did have direct cause bearing on the preventability of

the crash that forms the basis of the claims before this Court, specifically including

the policies, practices, and procedures and the implementation of the same regarding

distracted and fatigued driving and whether what DEFENDANTS did or did not do

to prevent distracted and fatigued driving as related to their fleets of thousands of

large trucks that travel over interstates across the United States.

8.    On June 19, 2020 at or near 3:45 p.m., DEFENDANT RICHARDSON operated

a 2016 Freightliner tractor-trailer, VIN 3AKJGLD50GSGX7954, which was fully

loaded (“Truck”), within the course and scope of his employment and/or as agent

and/or as statutory employee of DEFENDANTS UNITED VAN LINES and

ARMSTRONG RELOCATION.

9.    On information and belief, the gross vehicle weight of the Truck was up to

80,000 pounds. While operating the truck and in the time before the crash,

DEFENDANT RICHARDS was fatigued and/or distracted by cell phone, eating, or

similar electronic device, such that his mere operation of the Truck at that time in

while distracted created a foreseeable increased the risk of harm to the motoring

public.

10.   The Truck operated by DEFENDANT RICAHRDSON was a commercial

vehicle with a gross vehicle weight in excess of 10,001 pounds, involved in interstate

commerce and thus subject to compliance with the Federal Motor Carrier Safety

Regulations (“FMCSR”) and applicable Tennessee laws governing the operation of

commercial trucks.



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11.   DEFENDANT RICHARDSON was operating the Truck eastbound on

Interstate 40 near mile marker 152 in Hickman County, Tennessee. As he

approached traffic that had stopped or slowed, DEFENDANT RICAHRDSON was

inattentive due to fatigue/distraction or both. The Truck abruptly crossed the median

traveling into the lanes of westbound travel on Interstate 40.

12.   At or near the same time, BRAD MARKINS was traveling westbound on

Interstate 40 in a 2020 Toyota Camry (“Camry”). The Truck slammed into the

vehicle of BRAD MARKINS and another vehicle.

13.   The Truck and its trailer overturned and blocked Westbound traffic on I-40.

14.   Photographs of the scene of the crash are shown below, depicting both the

Truck and the Camry, post-crash:




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15.   After overturning, the Truck came to rest at an angle across the eastbound

lane of Interstate 40.

16.   BRAD MARKINS was killed as a result of the crash.

                     COUNT I – NEGLIGENCE/NEGLIGENT
                     HIRING/RETENTION/ENTRUSTMENT

           (UNITED VAN LINES and ARMSTRONG RELOCATION)

17.    PLAINTIFF incorporates by reference the allegations set forth above, as if set

forth verbatim.

18.   At all times herein, DEFENDANTS UNITED VAN LINES and ARMSTRONG

RELOCATION, negligently, carelessly, recklessly and unlawfully hired, retained,

trained, and supervised their agents, employees, servants and/or independent

contractors who they assigned to operate, drive, and control said vehicles, in that,

among other things, DEFENDANTS knew or should have known that said persons

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were unfit for the specific tasks to be performed during the course and scope of their

employment and or agency, namely the safe operation of said vehicles.

19.   At all times herein, DEFENDANTS UNITED VAN LINES and ARMSTRONG

RELOCATION owed a duty to the public and PLAINTIFF not to allow an unfit,

unqualified, fatigued driver to operate a commercial interstate tractor-trailer while

unfit, unqualified, fatigued, distracted or in excess of the maximum allowable hours

of service. DEFENDANTS UNITED VAN LINES and ARMSTRONG RELOCATION

had duties to promulgate and enforce adequate policies and procedures to prevent

these unsafe acts.

20.   At all times material hereto, DEFENDANTS UNITED VAN LINES and

ARMSTRONG RELOCATION, and each of them, so negligently, carelessly,

recklessly and unlawfully owned, drove, entrusted, controlled and otherwise so

negligently operated said vehicles so as to cause a collision, thereby proximately and

legally causing the death of BRAD MARKINS as hereinafter enumerated.

DEFENDANTS UNITED VAN LINES and ARMSTRONG RELOCATION owed

duties to exercise reasonable care in the hiring, training and supervision of employees

and drivers, including DEFENDANT RICHARDSON, in the operation of trucks to

avoid causing injuries to others, and to promulgate and enforce policies, procedures

and rules to those ends. These duties included the duties to comply with the common

law, the Federal Motor Carrier Safety Regulations, industry standards, and the

relevant provisions of State law and regulations. 49 C.F.R. § § 383, 386, 390, 391,

392, and 395.



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21.   DEFENDANTS UNITED VAN LINES and ARMSTRONG RELOCATION

breached the duties they owed to BRAD MARKINS by committing one or of the

following acts of negligence:

      a.     Failing to properly hire safe, qualified drivers for operation of

commercial trucks, including RICHARDSON;


      b.     failing to properly supervise and train drivers for operation of

commercial trucks, including RICHARDSON;

      c.     negligently retaining drivers, including RICHARDSON;

      d.     negligently entrusting drivers, including RICHARDSON;

      e.     negligently   allowing    encouraging    and/or   aiding   and   abetting

RICHARDSON to operate a commercial interstate tractor-trailer while fatigued,

asleep or in excess the allowable hours of operation thereof and/or distracted by

electronic devices. cell-phones or eating;

      d.     negligently failing to have proper procedures or policies in place or

promulgated for the monitoring of driver hours, including RICHARDSON, to prevent

drivers from operating tractor-trailers while fatigued and/or distracted thought the

use of cell phones or other electronic devices; and

      d.     otherwise failing to use reasonable care.

22.    The failures and negligence of DEFENDANTS UNITED VAN LINES and

ARMSTRONG RELOCATION legally caused the damages to PLAINTIFF, as set

forth more fully below.

      COUNT II – NEGLIGENCE/NEGLIGENCE PER SE/RESPONDEAT
                        SUPERIOR/AGENCY

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23.   PLAINTIFF re-alleges the foregoing paragraphs as if restated verbatim.

24.   DEFENDANT RICHARDSON was negligent (for which UNITED VAN LINES

and ARMSTRONG RELOCATION are liable under agency theory) and failed to use

reasonable care by committing one or more of the following acts or omissions:


      a.     Negligently and carelessly operating a tractor-trailer without keeping

a safe and proper lookout for other vehicles on the roadway;

      b.     operating an interstate tractor-trailer while fatigued, asleep or in excess

of the maximum allowable hours of service and/or distracted by cell-phone or other

similar electronic devices;

      c.     failing to avoid a collision, when in the exercise of reasonable care, the

collision could have been avoided by Defendants;

      d.     operating a tractor-trailer with disregard for the safety of others,

including BRAD MARKINS; and

      e.     otherwise failing to exercise reasonable care.

25.   DEFENDANT RICHARDSON was also negligent per se (for which

DEFENDANTS UNITED VAN LINES AND ARMSTRONG RELOCATION are

liable) by the following violations of Tenn. Code Ann. (which were in effect at all

relevant times) of which BRAD MARKINS was a member of the class intended by the

statutes to protect and which was in full force and effect on the date in question:

Tenn. Code. Ann. § 55-8-103 Required obedience to traffic laws; Tenn. Code. Ann. §

55-8-123 Driving on Roadways Laned for Traffic; Tenn. Code Ann. § 55-8-124

Following too closely; Tenn. Code Ann. § 55-8-136 Drivers to exercise due care; Tenn.

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Code Ann. § 55-8-152 Speed limits; Tenn. Code Ann. § 55-8-156; Prohibited Uses of

Wireless Telecommunications Devices; Tenn. Code Ann. § 55-8-205 Reckless Driving;

and 49 C.F.R. § 392.

26.   The    failures,   negligence   and    negligence   per   se   of   DEFENDANT

RICHARDSON (for which UNITED VAN LINES and ARMSTRONG RELOCATION

are vicariously liable) were the proximate and legal cause of the injuries and damages

to PLAINTIFF that are more fully set forth below.

               COUNT III – JONT STATUTORY EMPLOYMENT

                         (DEFENDANTS UNITED VAN LINES
                          and ARMSTRONG RELOCATION)

27.   PLAINTIFF realleges each of the foregoing paragraphs as if restated

verbatim.

28.   The DEFENDANTS had entered an arrangement to transport property using

equipment not owned by them as motor carriers, as contemplated by 49 U.S.C. §

14102(a). Under 49 C.F.R. § 376.12(c), motor carrier(s) shall “have exclusive

possession, control, and use of the equipment” and “shall assume complete

responsibility for the operation of the equipment.”

29.    DEFENDANTS UNITED VAN LINES and ARMSTRONG RELCATION are,

thus, joint statutory employers of DEFENDANT RICHARDSON and are jointly

liable for his acts, omissions and negligence and negligence per se that proximately

and legally caused PLAINTIFF’S damages, that are set forth more fully below.

        COUNT IV – DECLARATORY RELIEF/CONFLICT OF LAWS

30.   PLAINTIFF realleges each of the foregoing paragraphs as if restated verbatim.

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31.   A conflict of laws exists as to application of Tenn. Code Ann. § 29-39-102.

DEFENDANTS UNITED VAN LINES and/or ARMSTRONG RELOCATION made

all of the key decisions regarding their policies, implementation of those policies,

hiring decisions and entrustment decisions from their corporate headquarters that

are located in the State of Missouri and the State of North Carolina, respectively.

Neither North Carolina nor Missouri recognize limitations on non-economic damages.

As a result, any purported limitation on non-economic damages under Tennessee law

is inapplicable before this Court. PLAINTIFF seeks declaratory relief under the

principals espoused in Restatement 2d of Conflict of Laws, §§ 6 and 146 as either of

the states where the hiring, retention, entrustment and supervision occurred have

more significant relations than the incidental travel by the Truck through this State

by the Truck. Tenn. Code Ann. § 29-39-102 was not intended to protect out-of-State

defendants who engage in unsafe and reckless practices that cause death and

damages to out-of-state residents who merely are traveling through this State on the

Federal Interstate System.

32.   PLAINTIFF seeks declaratory relief that Tenn. Code Ann. § 29-39-102 does

not apply in this case to limit the damages in any amount whatsoever and the Court

shall not reduce any verdict received by PLAINTIFF at trial, or, alternatively and

pending discovery, that one of the enumerated exceptions found at Tenn. Code Ann.

§ 29-39-102(h) apply.


                             INJURIES AND DAMAGES

33.   PLAINTIFF re-alleges the foregoing paragraphs as if restated verbatim.


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34.   The conduct of the DEFENDANTS was, both at common law and/or statutorily,

reckless, willful, knowing, grossly negligent, wanton, and in such total disregard for

the safety of others that an award for punitive damages is necessary to deter such

conduct in the future. As a result of the foregoing, in addition to compensatory

damages, PLAINTIFF is entitled to recover punitive damages from DEFENDANTS

and in order to deter DEFENDANTS and similarly situated third parties from

committing the same or similar misconduct that endangers the general safety of the

public. As a proximate and legal result of the aforesaid negligence, gross negligence,

negligence per se and/or recklessness of the DEFENDANTS, BRAD MARKINS

suffered and sustained severe, serious, pre-death, pain, shock, fright, suffering,

mental anguish, and injuries, from which he ultimately died. As a result of their acts,

the DEFENDANTS are liable for the conscious pain and suffering of BRAD

MARKINS. There was no act of negligence by BRAD MARKINS that was a cause or

that contributed to the wreck. At the time of his death, BRAD MARKINS, was strong,

able-bodied and gainfully employed. He was an active and productive citizen who took

great pride in his family, community relations and life.

35.   Prior to his death, and as a direct and proximate result of DEFENDANTS’

wrongful conduct as previously alleged herein, BRAD MARKINS sustained physical

and mental pain and anguish, suffering in contemplation of his impeding death,

including pre-death terror, along with property damage and other loss, for which

PLAINTIFF is entitled to recovery compensatory damages against DEFENDANTS

UNITED VAN LINES, ARMSTRONG RELOCATION and JAMES RICHARDSON,



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both jointly and severally.

36.   By reason of the death of BRAD MARKINS, the PLAINTIFF and others, each

have been deprived of the support, comfort, society, advice, daily acts of love, affection

and services all of which were substantial and of great value for which his Estate is

entitled to recovery against DEFENDANTS UNITED VAN LINES, ARMSTRONG

RELOCATION and JAMES RICHARDSON, both jointly and severally.

37.   DEFENDANTS are liable for the full amount of economic and non-economic

damages recoverable under the law for the wrongful death of BRAD MARKINS.

38.   BRAD MARKINS was killed as a proximate and legal result of the negligence,

gross negligence, negligence per se and recklessness of the DEFENDANTS.

39.   DEFENDANTS are liable for the economic/non-economic and pecuniary value

of the life of BRAD MARKINS, his last death expenses, and all other damages

recoverable under the law and equity. The acts complained of legally caused

PLAINTIFF’s injuries and damages including, but not limited to:

      a.     The loss of support from the reasonably expected earning capacity of

BRAD MARKINS;

      b.     the loss of services of BRAD MARKINS;

      c.     loss   of   love,   society   of    BRAD   MARKINS,     including   loss   of

companionship, consortium, care, assistance, attention, protection, advice, guidance,

counsel, instruction, training, and education suffered by his surviving children.

      d.     the mental and physical suffering actually endured by BRAD MARKINS

between the time of his injury and untimely death;


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      e.       medical expenses necessitated by the injury, including expenditures for

doctors, nurses, hospital care, medicine and/or drugs;

      f.       funeral expenses for BRAD MARKINS; and

      g.       the present cash value of the pecuniary value of the life of BRAD

MARKINS, including the lost earnings over his life expectancy and the reasonable

loss of consortium suffered by his survivors and the next of kin for the loss of tangible

services provided by him, as well as intangible benefits each family member receives

from the continued existence of other family members. Such intangible benefits

include love, affection, attention, education, guidance, care protection, training,

companionship and cooperation that the survivors and next of kin would reasonably

be certain to have received during the life of the deceased.

       WHEREFORE, PLAINTIFF, by and through his attorneys, prays that the

following relief be granted:

       a.      A trial by jury;

       b.      for Summons and Complaint to issue against the DEFENDANTS;

       c.      for judgment of compensatory damages for wrongful death and

survivor    against    DEFENDANTS          UNITED     VAN   LINES,     ARMSTRONG

RELOCATION and JAMES RICHARDSON, and each of them jointly and/or

severally in an amount of economic and non-economic damages the jury believes to

be just, fair and equitable, given the facts and after hearing the evidence of at least

$50 million;

       d.      for   judgment     of   compensatory   damages   in   survival   against


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DEFENDANTS UNITED VAN LINES, ARMSTRONG RELOCATION and JAMES

RICHARDSON, and each of them, jointly and/or severally;

       e.    declaratory relief of that Tenn. Code Ann. § 29-39-102 does not operate

to reduce or diminish any damages under conflict of laws principals espoused under

Restatement 2d Conflict of Laws, §§ 6 and 146, or alternatively and pending

discovery that one or more of the enumerated exceptions under Tenn. Code Ann. §

29-39-102(h) apply.

       f.    for judgment of punitive damages against DEFENDANTS UNITED

VAN LINES, ARMSTRONG RELOCATION and JAMES RICHARDSON;

       g.     for court costs, discretionary costs; and,

       h.    for all other and further relief as this Honorable Court deems just and

equitable.

       WHEREFORE, PLAINTIFF further requests that all issues in this case be

tried before a jury of six (6) duly qualified and impaneled citizens of our community.




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                                   Respectfully submitted,

                                   WRIGHT LAW, PLC

                                   /s/Matthew E. Wright
                                   Matthew E. Wright, #022596
                                   840 Crescent Centre Drive
                                   Suite 310
                                   Franklin, TN 37067
                                   P: (615) 455-3588
                                   F: (615) 468-4540
                                   mwright@wrightlawplc.com

                                   Sam Aguiar, KY #92775
                                   Jonathan B. Hollan. KY #96158
                                   Miles D. Mussetter, KY #98555
                                   (PRO HAC VICE to be submitted for
                                   all of the above)
                                   1201 Story Avenue, Suite 301
                                   Louisville, Kentucky 40206
                                   Telephone: (502) 400-6969
                                   Facsimile: (502) 491-3946
                                   sam@kylawoffice.com
                                   jhollan@kylawoffice.com
                                   mmussetter@kylawoffice.com

                                   ATTORNEYS FOR PLAINTIFF




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